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UNITED STATES DISTRICT COURT
FOR THE EASTERN DISTRICT OF CALIFORNIA
AND FOR THE NORTHERN DISTRICT OF CALIFORNIA

RALPH COLEMAN, et al., Case No. CIV S-90-0520 LKK JFM P
Plaintiffs,
V.
ARNOLD SCHWARZENEGGER, et al.,
Defendants.

CARLOS PEREZ, et al., Case No. C 05-05241 JISW
Plaintiffs,

v.
JAMES TILTON, et al.,

Defendants.
JOHN ARMSTRONG, et al, Case No. C 94-2307 CW
y Plaintiffs, EXHIBITS TO RECEIVER’S SEVENTH
QUARTERLY REPORT
ARNOLD SCHWARZENEGGER, et al.,
Defendants.

EXHIBITS TO RECEIVER'S SEVENTH QUARTERLY REPORT

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IN THE UNITED STATES DISTRICT COURT
FOR THE NORTHERN DISTRICT OF CALIFORNIA

MARCIANO PLATA, et al. No.: C01-1351 T.E.H.
Plaintiffs, EXHIBITS TO THE RECEIVER’S
SEVENTH QUARTERLY REPORT
vs.
ARNOLD SCHWARZENEGGER,
etal.

Defendants.

